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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

BARKAN WIRELESS IP HOLDINGS,
L.P.,

               Plaintiff,
                                                         Civil Action No. 2:19-cv-00336-JRG
               v.
                                                          JURY TRIAL DEMANDED
SPRINT COMMUNICATIONS CO. L.P.,
SPRINT SOLUTIONS, INC., and SPRINT
SPECTRUM L.P.,

               Defendants.


            JOINT STIPULATION AS TO CERTAIN ASSERTED CLAIMS
        AS CONSTRUED BY THE COURT’S CLAIM CONSTRUCTION ORDER

       Plaintiff Barkan Wireless IP Holdings, L.P. (“Barkan”) and Defendants Sprint

Communications Co. L.P., Sprint Solutions, Inc., and Sprint Spectrum L.P. (“Sprint”) stipulate

and agree as follows.

       On December 8, 2020, this Court issued an order adopting Magistrate Judge Payne’s

October 26, 2020 claim construction order (the “Claim Construction Order”).          The Claim

Construction Order construed “tamper-free hardware” (in U.S. Patent No. 8,559,312, the “’312

Patent”) and “tamper-free unit” (in U.S. Patent No. 9,392,638, the “’638 Patent”) as “hardware”

or a “unit” that “includes means to destroy its contents or delete information stored therein, if

someone tries to tamper with it.”

       Based on these constructions and Sprint’s discovery responses as to non-infringement, and

subject to Barkan’s right to appeal these and other constructions in the Claim Construction Order

after entry of final judgment in this case, Barkan hereby stipulates to entry of judgment of non-
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infringement of Claim 13 of the ’312 Patent and Claims 1-4, 7-12, 15, 16, 18, 19, 28 and 29 of

the ’638 Patent (collectively, the “Stipulation Claims”).

       Each of Barkan’s stipulations is subject to its right to appeal the Court’s Claim

Construction Order and any final judgment based thereon. Barkan and Sprint agree that no Rule

54(b) partial final judgment or interlocutory appeal will issue as to the Stipulation Claims. Rather,

any appeal from the court’s construction of these terms may be taken after the Court enters a final

judgment in this action. This stipulation, the concurrently filed motion for partial entry of

judgment, and any resulting order are also without prejudice to the parties’ ability to challenge on

appeal any aspect of the claim construction order and any eventual final judgment, and without

prejudice to the parties’ ability to advocate on appeal any alternative grounds supporting any

aspect of an eventual final judgment.

DATED: January 11, 2021                               Respectfully Submitted,

                                                      /s/ Max L. Tribble, Jr.
                                                      Max L. Tribble, Jr. – Lead Counsel
                                                      Texas State Bar No. 20213950
                                                      Justin Nelson
                                                      Texas State Bar No. 24034766
                                                      SUSMAN GODFREY, L.L.P.
                                                      1000 Louisiana Street, Suite 5100
                                                      Houston, Texas 77002
                                                      Telephone: (713) 651-9366
                                                      Facsimile: (713) 654-6666
                                                      mtribble@susmangodfrey.com
                                                      jnelson@susmangodfrey.com

                                                      Matthew R. Berry
                                                      Washington State Bar No. 37364
                                                      Alexander W. Aiken
                                                      Washington State Bar No. 55988
                                                      SUSMAN GODFREY, L.L.P.
                                                      1201 Third Ave., Suite 3800
                                                      Seattle, Washington 98101
                                                      Telephone: (206) 516-3880
                                                      Facsimile: (206) 516-3883

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                                          mberry@susmangodfrey.com
                                          aaiken@susmangodfrey.com

                                          William D. O’Connell
                                          New York State Bar No. 5491014
                                          SUSMAN GODFREY, L.L.P.
                                          1301 Avenue of the Americas, 32nd Fl.
                                          New York, New York 10019-6023
                                          Telephone: (212) 336-8330
                                          Facsimile: (212) 336-8340
                                          boconnell@susmangodfrey.com

                                          S. Calvin Capshaw
                                          Texas State Bar No. 03783900
                                          Elizabeth DeRieux
                                          Texas State Bar No. 05770585
                                          CAPSHAW DERIEUX LLP
                                          114 E. Commerce Ave.
                                          Gladewater, TX 75647
                                          Telephone: (903) 845-5770
                                          ccapshaw@capshawlaw.com
                                          ederieux@capshawlaw.com

                                          Michael F. Heim
                                          Texas State Bar No. 09380923
                                          Robert A. Bullwinkel
                                          Texas State Bar No. 24064327
                                          Blaine A. Larson
                                          Texas State Bar No. 24083360
                                          HEIM, PAYNE & CHORUSH, LLP
                                          1111 Bagby St., Suite 2100
                                          Houston, TX 77002
                                          Telephone: (713) 221-2000
                                          Facsimile: (713) 221-2021
                                          mheim@hpcllp.com
                                          abullwinkel@hpcllp.com
                                          blarson@hpcllp.com

                                          T. John Ward, Jr.
                                          Texas State Bar No. 00794818
                                          Claire Abernathy Henry
                                          Texas State Bar No. 24053063
                                          Andrea L. Fair
                                          Texas State Bar No.24078488
                                          WARD, SMITH & HILL, PLLC
                                          PO Box 1231

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                                          Longview, Texas 75606
                                          Telephone: (903) 757-6400
                                          Facsimile: (903) 757-2323
                                          jw@wsfirm.com
                                          claire@wsfirm.com

                                          Attorneys for Plaintiff Barkan Wireless IP
                                          Holdings, L.P.




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Dated: January 11, 2021             Respectfully submitted,

                                     /s/ Matthew W. Cornelia        .
                                    David E. Finkelson (pro hac vice)
                                    Lead Attorney
                                    MCGUIREWOODS LLP
                                    800 East Canal Street
                                    Richmond, VA 23219-3916
                                    Tel: (804) 775-1000
                                    Fax: (804) 698-2016
                                    dfinkelson@mcguirewoods.com

                                    Jason W. Cook
                                    Texas State Bar No. 24028537
                                    Matthew W. Cornelia
                                    Texas State Bar No. 24097534
                                    MCGUIREWOODS LLP
                                    2000 McKinney Avenue, Suite 1400
                                    Dallas, TX 75201
                                    Tel: (214) 932-6400
                                    Fax: (214) 932-6499
                                    jcook@mcguirewoods.com
                                    mcornelia@mcguirewoods.com

                                    Meghan M. Rachford (pro hac vice)
                                    MCGUIREWOODS LLP
                                    Promenade
                                    1230 Peachtree Street, N.E., Suite 2100
                                    Atlanta, GA 30309
                                    Tel: (404) 443-5500
                                    Fax: (404) 443-5599
                                    mrachford@mcguirewoods.com

                                    Robert W. Weber
                                    Texas State Bar No. 21044800
                                    SMITH WEBER, L.L.P.
                                    5505 Plaza Drive
                                    PO Box 6167
                                    Texarkana, Texas 75503
                                    Tel: (903) 223-5656
                                    Fax: (903) 223-5652
                                    bweber@smithweber.com

                                    Counsel for Defendants Sprint Communications
                                    Company L.P., Sprint Solutions, Inc., and Sprint
                                    Spectrum L.P.

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                                 CERTIFICATE OF CONFERENCE

        I hereby certify that counsel for Plaintiff has met and conferred with counsel for Defendants

and this Stipulation is Joint.


                                                       /s/    William D. O’Connell
                                                             William D. O’Connell




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